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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                         Plaintiffs,

          vs.                                              No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.


                DEFENDANT GOOGLE LLC’S AMENDED MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C) and the Modified Protective Order, Defendant Google

  LLC (“Google”), through its undersigned counsel, hereby respectfully amends its motion (Dkt.

  605) to, as reflected in the attached amended Appendix A, seal certain additional exhibits (Exs.

  83, 96) to the Declaration of Bryon Becker in Support of Google LLC’s Motion for Summary

  Judgment and Motions to Exclude, and file a redacted version of Memorandum of Law in Support

  of Google LLC’s Motion to Exclude the Testimony of Prof. Robin S. Lee.




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   Dated: May 31, 2024                Respectfully submitted,

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